8:04-cr-00316-LSC-SMB         Doc # 185      Filed: 04/27/05    Page 1 of 2 - Page ID # 645




                       UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )
                             Plaintiff,            )      8:04CR316
                                                   )
                     vs.                           )      FINAL ORDER OF
                                                   )      FORFEITURE
JAMES L. ASHBY,                                    )
GARY L. NAPIER, JR.,                               )
RICHARD GARZA,                                     )
SERGIO MARTINEZ-SOTO and,                          )
JOSE SOTO,                                         )
                     Defendants.                   )


       This matter is before the Court on the United States’ Motion for Final Order of

Forfeiture and Memorandum Brief (Filing No. 184). The Court reviews the record in this

case and, being duly advised in the premises, find as follows:

       1. On January 7, 2005, the Court entered a Preliminary Order of Forfeiture pursuant

to the provisions of Title 21, United States Code, Sections 846, 853, and Title 18, United

States Code, Section 924(c) based upon the Defendants’ pleas of guilty to Counts I, V, VI,

VII and VIII of the Indictment filed herein. By way of said Preliminary Order of Forfeiture,

the Defendant’s interest in $9,652.00 in United States currency, $521.00 in United States

currency, $500.00 in United States currency, $1,639.00 in United States currency and

$13,600.00 in United States currency was subject to forfeiture.

       2. On March 9, 16 and 23, 2005, the United States Bureau of Alcohol, Tobacco and

Firearms published in a newspaper of general circulation notice of this forfeiture and of the

intent of the United States Bureau of Alcohol, Tobacco and Firearms to dispose of the

property in accordance with the law, and further notifying all third parties of their right to

petition the Court within the stated period of time for a hearing to adjudicate the validity of
8:04-cr-00316-LSC-SMB          Doc # 185     Filed: 04/27/05    Page 2 of 2 - Page ID # 646




their alleged legal interest(s) in said property. An Affidavit of Publication was filed herein

on April 26, 2005 (Filing No. 183).

       3. The Court has been advised by the United States no Petitions have been filed.

From a review of the Court file, the Court finds no Petitions have been filed.

       4. The Plaintiff’s Motion for Final Order of Forfeiture should be sustained.

       IT IS ORDERED:

       A. The Plaintiff’s Motion for Final Order of Forfeiture (Filing No. 184) is hereby

sustained.

       B.    All right, title and interest in and to the subject properties, i.e., $9,652.00 in

United States currency, $521.00 in United States currency, $500.00 in United States

currency, $1,639.00 in United States currency and $13,600.00 in United States currency,

held by any person or entity, is hereby forever barred and foreclosed.

       C. The subject properties, i.e., $9,652.00 in United States currency, $521.00 in

United States currency, $500.00 in United States currency, $1,639.00 in United States

currency and $13,600.00 in United States currency, be, and the same hereby is, forfeited

to the United States of America .

       D. The United States Bureau of Alcohol, Tobacco and Firearms is directed to

dispose of said property in accordance with law.

       DATED this 27th day of April, 2005.

                                                   BY THE COURT:


                                                   s/Laurie Smith Camp
                                                   Laurie Smith Camp
                                                   United States District Judge
